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EXHIBIT [|
Case 3:09-cv-05191-CRB Document127-20 Filed 01/21/11 Page 2of15

Brenner, Wendy

From: Anna Levine [alevine@dralegal.org]

Sent: Wednesday, January 05, 2011 4:56 PM

To: Brenner, Wendy

Cc: Daniel F. Goldstein; Scott C. LaBarre

Attachments: Letter.to. NCBE.1-5-11.doc; draft_stipulation_re_February_2011_MBE.motion.1-5-11.docx;

draft_stipulation_re_February_2011_MBE.no.motion.1-5-11.docx

Dear Wendy,
Please see the attached letter and proposed draft stipulations.

Thank you,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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DRA

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A non-profit corporation

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Via Email

Wendy Brenner

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Palo Alto, CA 94306-2155

December 29, 2010

Re: Enyart v. National Conference of Bar Examiners
Proposed Preliminary Injunction Order

Dear Wendy,

Attached with this letter you will find two draft stipulations. One includes
both provisions regarding the software that will be provided through a
further preliminary injunction order, and provisions that would take the
place of the previously requested availability of someone with
administrative privileges (the draft with "no motion" in its document title).
The other draft does not include the latter provisions, but instead
reserves Stephanie's right to seek further modifications from the court
(the draft with "motion" in its document title).

We have not yet received any response from NCBE regarding our letter
of December 29, 2010 on the issue of software that NCBE will provided
for the February 2011 administration of the MBE. Our preference is to
resolve all issues regarding accommodations on the February MBE by
stipulation. However, failing to do that, Stephanie needs to move for an
injunction by the end of this week to get the accommodations she needs
in place in time for the February test administration.

Through your letter dated December 23, 2010, we understand that the
question of administrative privileges also remains unresolved. We have
pursued this issue in an effort to address specific problems that have
arisen in Stephanie's experience of prior test administrations. Your
assurance in your letter dated December 23, 2010 that "When the
laptop leaves NCBE, it will be in working order," is not supported by
those experiences: on no prior exam administration has Stephanie ever
received a laptop in working order. We do not believe that making
available a NCBE or State Bar person with administrative privileges
compromises the security of the exam. Our goal, however, is a
meaningful opportunity to fix identified problems, if any, that require, for
example, software programs to be uninstalled and reinstalled in a

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January 19, 2011

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different order. If in fact the laptop is in working order, the issue will not arise. But if
there is such a problem, we do not want Stephanie left in a position where the agreed
upon pre-test inspection affords her only a longer time to reflect on the fact that there
will again be a problem that interferes with the accessibility of the test and that will not
be fixed prior to the exam.

In an effort to avoid going back to court, we have drafted an alternative potential
solution, which is contained in the attached draft stipulation. Under this proposed
stipulation, if and only if a problem requiring it is identified, the laptop will be returned to
NCBE to be fixed in time for the exam, rather than having someone available on-site
with the administrative privileges necessary to fix the laptop.

| hope that this solution addresses NCBE's concerns and that we can finalize an
agreement fully addressing the further preliminary injunction order. In light of time
constraints, please respond by 12 pm, tomorrow, as to whether NCBE will enter into
either of these proposed agreements.

Sincerely,

/s/ Anna Levine

Enclosures (2)
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ASe 3:09-cv-05191-CRB Document127-20 Filed 01/21/11 Page5of15

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Attorneys for Plaintiff

[add defense counsel to caption]

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

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HSE 3:09-cv-05191-CRB Document 127-20

STEPHANIE ENYART

Plaintiff,

Vv

NATIONAL CONFERENCE OF BAR
EXAMINERS,

Defendant.

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Case NO. C09-05191

NOTICE OF STIPULATION AND
AGREEMENT BETWEEN STEPHANIE
ENYART AND NATIONAL
CONFERENCE OF BAR EXAMINERS
REGARDING FEBRUARY 2011
ADMINISTRATION OF MULTISTATE
BAR EXAM

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The parties to the above-captioned action, Plaintiff Stephanie Enyart and
Defendant National Conference of Bar Examiners (hereinafter, “the Parties”), jointly

stipulate and agree as follows:

1. With respect to the February 2011 administration of the California Bar exam,
NCBE shall provide the State Bar of California, Committee of Bar Examiners
(the “State Bar’) with the Multistate Bar Examination (“MBE”) loaded onto a
laptop computer equipped with Windows XP, Word 2003, JAWS version 12
and MAGic version 11 software, with the examination displayed in 14-point
Arial font.

2. NCBE shall deliver the NCBE laptop to the State Bar for arrival on or before
February 17, 2011, and request the State Bar to make the NCBE-provided
laptop available to Ms. Enyart and a technical expert of her choice (the
“technical expert’) on February 17, 2011 for inspection and set-up. Inspection
and set-up shall include permission to connect Ms. Enyart's monitor,
keyboard and mouse (the “peripherals”) to the NCBE laptop and to test the
functionality of JAWS and MAGic to ensure that all software and hardware on
the system are functioning properly.

3. NCBE shall request the State Bar to make the NCBE-provided laptop
available to Ms. Enyart and a technical expert of her choice again on
February 21, 2011 for set up in the secure testing area. Set up shall include
permission to connect the peripherals to the NCBE laptop and to again test
the functionality of JAWS and MAGic to ensure that all software and hardware
on the system are functioning properly.

4. NCBE will make an NCBE representative knowledgeable about the
configuration of the NCBE laptop available by telephone on February 17,

2011 and February 21, 2011, at a pre-established, mutually convenient time

Enyart v. National Conference of Bar Examiners, et al., Case No.:
NOTICE OF STIPULATION AND AGREEMENT

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between 8:30 a.m. and 4:00 p.m. CST, to work with Ms. Enyart and the
2 technical expert on troubleshooting any technical or compatibility issues.

5. The NCBE representative available by telephone will not use his or her

4 administrative privileges in any way, nor will he or she transfer that ability. In
the event that the NCBE representative, technical expert, and Ms. Enyart
6 identify a problem on February 17, 2011, which cannot be resolved absent
7 the use of administrative privileges, the NCBE shall arrange for the return of
the laptop to NCBE, and will maintain an open line of communication with the
9 technical expert and Ms. Enyart while working to resolve the problem offsite.
10 NCBE will deliver the laptop back to the State Bar by Monday, February 21,

2011 for set up in the secure testing area, pursuant to paragraph 3.

12 6. NCBE will permit the laptop computer to remain set up with the peripherals
connected in the testing room from February 21, 2011 through the

14 administration of the MBE to Ms. Enyart on February 26 and 27, 2011, with
storage and security of the NCBE laptop being ensured by State Bar

16 personnel. In the event the State Bar declines to provide any of the

17 accommodations specified in this order, counsel are to notify the court one
week prior to the date of the commencement of the Bar examination.

19 7. The State Bar shall be responsible for custody of, and access to, the laptop

20 once it is delivered to the State Bar. All decisions with respect to the

administration of the examination shall rest with the State Bar. The MBE shall
be administered by the State Bar with the above accommodations pursuant to

the Stipulation Regarding Dismissal Without Prejudice of Defendant State Bar

24 of California; Order Thereon filed with the Court on December 9, 2009.

8. Plaintiff shall post an additional cash bond in the amount of $5,000 with the
26 Clerk of the Court by July 1, 2010, and deposited into the registry of the
27 Court.

Enyart v. National Conference of Bar Examiners, et al., Case No.:
NOTICE OF STIPULATION AND AGREEMENT

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Respectfully Submitted,

Dated: January __, 2011 DISABILITY RIGHTS ADVOCATES

By: /s/_ Laurence Paradis

LABARRE LAW OFFICES, P.C.
By: /s/ Scott Labarre

BROWN, GOLDSTEIN AND LEVY, PLLC
By: /s/ Daniel F. Goldstein

Attorneys for Plaintiff

COOLEY GODWARD KRONISH LLP
By: /s/ Wendy J. Brenner

Attorneys for Defendant

Enyart v. National Conference of Bar Examiners, et al., Case No.:
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Enyart y. National Conference of Bar Examiners, et al., Case No.:
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Attorneys for Plaintiff

[add defense counsel to caption]

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NORTHERN DISTRICT OF CALIFORNIA

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[STEPHANIE ENYART

Plaintiff,

Vv

NATIONAL CONFERENCE OF BAR
EXAMINERS,

Defendant.

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Case NO. C09-05191

NOTICE OF STIPULATION AND
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REGARDING FEBRUARY 2011
ADMINISTRATION OF MULTISTATE
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Case 3:09-cv-05191-CRB Document127-20 Filed 01/21/11 Page 13 of 15

1 The parties to the above-captioned action, Plaintiff Stephanie Enyart and

2 || Defendant National Conference of Bar Examiners (hereinafter, “the Parties”), jointly

3 || stipulate and agree as follows:

4

5 1. With respect to the February 2011 administration of the California Bar exam,

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15 and set-up shall include permission to connect Ms. Enyart’s monitor,
16 keyboard and mouse (the “peripherals”) to the NCBE laptop and to test the
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18 the system are functioning properly.
19 3. NCBE shall request the State Bar to make the NCBE-provided laptop
20 available to Ms. Enyart and a technical expert of her choice again on
21 February 21, 2011 for set up in the secure testing area. Set up shall include
22 permission to connect the peripherals to the NCBE laptop and to again test
23 the functionality of JAWS and MAGic to ensure that all software and hardware
24 on the system are functioning properly.
25 4. NCBE will make an NCBE representative knowledgeable about the
26 configuration of the NCBE laptop available by telephone on February 17,
27 2011 and February 21, 2011, at a pre-established, mutually convenient time

Enyart v. National Conference of Bar Examiners, et al., Case No.:
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between 8:30 a.m. and 4:00 p.m. CST, to work with Ms. Enyart and the
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5. NCBE will permit the laptop computer to remain set up with the peripherals
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storage and security of the NCBE laptop being ensured by State Bar
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accommodations specified in this order, counsel are to notify the court one
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6. The State Bar shall be responsible for custody of, and access to, the laptop
once it is delivered to the State Bar. All decisions with respect to the
administration of the examination shall rest with the State Bar. The MBE shall
be administered by the State Bar with the above accommodations pursuant to
the Stipulation Regarding Dismissal Without Prejudice of Defendant State Bar
of California; Order Thereon filed with the Court on December 9, 2009.

7. Plaintiff shall post an additional cash bond in the amount of $5,000 with the
Clerk of the Court by July 1, 2010, and deposited into the registry of the
Court.

8. Plaintiff reserves the right to move this Court for other modifications to the

prior injunctions issued in this case that are not covered by this stipulation.

Respectfully Submitted,

Dated: January __, 2011 DISABILITY RIGHTS ADVOCATES

By: /s/_Laurence Paradis

Enyart v. National Conference of Bar Examiners, et al., Case No.:
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By: /s/ Wendy J. Brenner

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NOTICE OF STIPULATION AND AGREEMENT

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